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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10     KILEY DELIEFDE SWAINE,                        Case No.: 2:22-cv-00404-MCS-RAO
11         Plaintiff,                                NOTICE OF SETTLEMENT OF
12
           vs.                                       CASE
13
       CITY OF TORRANCE, CODY            DATED: FEBRUARY 17, 2023
14
       WELDIN, CHRISTOPHER TOMSIC,
15     VAN LINGEN TOWING, INC., VAN      CTRM:    7C
16
       LINGEN BODY SHOP, INC., ROBERT
       VAN LINGEN and DOES 1 through 10,
17     inclusive,                        UNITED STATES DISTRICT
18                                       JUDGE MARK C. SCARSI
           Defendants.
19
       _________________________________
20
                 TO THIS HONORABLE COURT AND TO ALL PARTIES AND
21
       THEIR COUNSEL OF RECORD:
22
                 PLEASE TAKE NOTICE that all of the parties to this action have settled
23
       all claims by plaintiff against all of the parties to this action. The parties will be
24

25
       filing a Stipulation for Dismissal of Action pursuant to F.R.Civ.P. 41 when

26     defendant City of Torrance forwards the settlement funds to plaintiff.
27
       Dated: February 17, 2023                 __/s/_ Jerry L. Steering _______________
28
                                                JERRY L. STEERING, ATTORNEY FOR
                                                PLAINTIFF KILEY SWAINE
                                 NOTICE OF SETTLEMENT OF CASE
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